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                              United States District Court
                              Eastern District of Michigan

 L.A., a legally incapacitated Minor, by
 and through his Mother and Next
 Friend, Kiersten Reeser, Kiersten
 Reeser, Individually, Jeremy                  Civil No. 21-12050
 Armstrong, Individually,
                                               Honorable Robert H. Cleland
          Plaintiffs,                          Mag. Judge David R. Grand

 v.

 United States of America, and
 W.A. Foote Memorial Hospital
 a/k/a Henry Ford Allegiance
 Health, and Charles Edward
 Rollison, D.O., and Ronald
 Nichols, M.D., and Alma Garlo, M.D.,

          Defendants.


       Stipulated Protective Order Regarding Disclosure of Records
           Subject to the Privacy Act and 45 C.F.R. § 164.512(e)


      The parties, through their undersigned attorneys, have stipulated to entry of a

protective order to permit the United States to produce documents in this action

that are deemed private and confidential under the Privacy Act, 5 U.S.C. § 552a,

and Federal Rule of Civil Procedure 5.2, and to protect information obtained by a

party from another party and/or third parties as required by 45 C.F.R. § 164.512(e).

The documents at issue in this case are likely to include medical records and
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reports that identify, by name and other identifying information, several

individuals who are not parties to this litigation (such as clinic staff) and contain

private medical information about the plaintiffs. Under the Privacy Act, the United

States is prohibited from disclosing documents that include the names or other

identifying information of individuals who are not currently parties to this case

unless such disclosure is permitted by the order of a Court of competent

jurisdiction. 5 U.S.C. § 552a(b)(11). Similarly, under 45 C.F.R. § 164.502, a

covered entity, such as the United States or other medical care provider, may not

disclose protected health information unless such disclosure is permitted by the

order of a Court of competent jurisdiction or if other criteria are met, as described

in 45 C.F.R. § 164.512. This Stipulated Protective Order permits the United States

and other covered entities to produce relevant documents containing information

protected by the Privacy Act, 5 U.S.C. § 552a, and ensures that any sensitive or

private information obtained by the parties from any source is disclosed only to the

extent necessary to resolve this litigation, as required by 45 C.F.R. § 164.501, et

seq. Accordingly, the parties, through their undersigned attorneys, have stipulated

to entry of a protective order providing as follows:

   1. Protected Information.

      The United States may designate as “protected information” records

produced in response to discovery requests or documents obtained by the United


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States pursuant to subpoena from third-parties. All records that the United States

or the Department of Health and Human Services designates as protected

information shall be stamped “protected information” on each page and/or shall be

appended with a cover sheet stamped “protected information.” All such records

designated as “protected information” shall be subject to the provisions below.

The United States shall treat all records and information obtained from third parties

regarding the medical treatment of plaintiffs as “protected information.” For the

purposes of this qualified protective order, “protected information” includes

“protected health information” as set forth in 45 C.F.R. § 160.103 and 164.501,

including demographic information, relating to either (a) the past, present, or future

physical or mental condition of an individual, (b) the provision of care to an

individual, or (c) the payment for care provided to an individual, which identifies

the individual or which reasonably could be expected to identify the individual.

   2. Authorization to Disclose.

      Upon entry of this stipulated protective order under the authority of the

Court pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, 5 U.S.C.

§ 552a(b)(11), and 45 C.F.R. § 164.512(e)(1), the Court permits the production of

protected information even though the records contain the names and other

identifying information and/or actions regarding persons who are not currently

parties to this case and/or protected health information. The parties agree that


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“protected information” may be relevant to the subject matter involved in the

pending action and a party’s need for such records or information outweighs the

concerns against disclosure so long as the party complies with the measures

required by this Protective Order.

         This stipulated order does not apply to those records or portions of records

that include privileged information, if any, or that are otherwise objectionable.

      3. Non-Disclosure of Protected Information.

        Except with the prior written consent of the opposing party, or as otherwise

provided under this order or by prior approval of this Court, no “protected

information” may be disclosed to any individual or entity, in any form whatsoever,

except to those persons, and for those purposes, delineated in paragraphs 4 and 5

below. Under no circumstances may protected information be used by either party

or their attorneys or agents for any purpose other than for those purposes necessary

to this litigation.

      4. Permissible Disclosures.

        (A)    Notwithstanding paragraph 3, protected information may be disclosed

to:

        i.     An individual party;

        ii.  Counsel for the parties in this action who are actively engaged in the
        conduct of this litigation;




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       iii. The partners, associates, secretaries, paralegal assistants, and
       employees of such counsel to the extent reasonably necessary to render
       professional services in the litigation;



       iv.     Retained consultants or experts (testimonial and non-testimonial) and
       employees of said persons directly involved in the prosecution or defense of
       this litigation;

       v.      Persons giving testimony, including testimony during depositions, in
       this litigation;

       vi.   Court officials involved in this litigation (including court reporters,
       persons operating video recording equipment at depositions, and any special
       master appointed by the Court); and

       vii. Persons designated by the Court in the interest of justice, upon such
       terms as the Court may deem proper after hearing of the parties.

       (B)    Prior to disclosing protected information to the persons described in

Paragraph 4(A), counsel shall inform each such person that protected information

may not be used or disclosed for any purpose other than this litigation. Counsel

shall take all other reasonable steps to ensure that persons receiving protected

information do not use or disclose such information for any purpose other than this

litigation.

   5. Use of Protected Information in Litigation.

       The provisions of this stipulated order shall not apply to restrict the use of

protected information in connection with a deposition, proceeding, hearing, trial, or

appeal in this action provided any person receiving the protected information is



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subject to the provisions of this order. However, any documents designated as

“protected information” must be redacted to remove personally identifying

information before they are disclosed to the public by, for instance, filing them as

exhibits to motions on the public docket.

   6. Custody and Safekeeping of Protected Information.

      Counsel for a party to whom protected information has been produced shall

be responsible for taking appropriate precautions to preserve the confidentiality of

the protected information. The duplication of protected information shall be

limited to what is reasonably necessary for the conduct of this litigation.

   7. Filing of Documents Containing Protected Information with the Court.

      Documents containing protected information may be filed with the Court to

the extent reasonably necessary to support motions or other matters relating to the

litigation provided that such documents are redacted to remove all personally

identifying information prior to filing. The filing party is responsible for

completing the redactions necessary to comply with this section.

   8. Non-Termination.

      The provisions of this stipulated order shall not terminate at the conclusion

of this litigation. Within 120 days after final conclusion of all aspects of this

litigation, including all appeals, protected documents and all copies of same (other

than exhibits of record) shall be returned to the United States or its counsel or


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destroyed. All counsel of record shall make certification of compliance herewith

and shall deliver the same to counsel for the United States not more than 150 days

after final termination of this litigation.

   9. Declassification.

       In the event that a reviewing party wishes to disclose protected material to

any person to whom disclosure is not authorized by this protective order, such

reviewing party may apply to this Court for modification of this order. During the

pendency of any such application, this protective order shall remain in full effect.

The party who produced the information as protected shall have the burden to

prove that there is good cause for the information to have such protection. Failure

of a party to promptly challenge any designation of confidentiality shall not

constitute acquiescence in such designation nor preclude the filing of an

application under this paragraph at any time prior to trial. Nothing herein shall

impose any restriction on the use or disclosure by a party of information obtained

by such party independently of discovery proceedings herein.

  10. Modification Permitted.

       Nothing in this order shall prevent any party from seeking modification of

this order or from objecting to discovery that it believes to be otherwise improper.




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  11. Filing Under Seal.

      This order does not authorize the filing of any documents under seal.

Documents may be sealed only if authorized by statute, rule, or order of the Court.

A party seeking to file under seal any paper or other matter in any civil case

pursuant to this section shall file and serve a motion that sets forth:

      i.     the authority for sealing;

      ii.    an identification and description of each item proposed for sealing;

      iii.   the reason that sealing each item is necessary;

      iv.    the reason that a means other than sealing is not available or
      unsatisfactory to preserve the interest advanced by the movant in support of
      the seal; and

      v.     a memorandum of legal authority supporting the seal.

      The movant shall not file or otherwise tender to the Clerk any item proposed

for sealing unless the Court has granted the motion required by this section.

      Whenever a motion to seal is filed, the movant shall submit a proposed

order, which states the particular reason the seal is required. The proposed order

shall be submitted to the judge to whom the case is assigned or to the magistrate

judge to whom the matter is referred, via the link located under the Utilities section




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of CM/ECF. If a motion to seal is granted, the documents to be filed under seal

shall be filed electronically by the movant.




IT IS SO ORDERED.

                                               s/Robert H. Cleland
                                               Robert H. Cleland
                                               United States District Judge
Dated: November 30, 2021




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 Stipulated and Agreed to by:


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                                              Acting United States Attorney

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                                              Attorneys for Defendant United States
 Dated: November 24, 2021
                                              Dated: November 24, 2021

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 VALITUTTI & SHERBROOK                        HORTON, PC


 /s/ Michael Paolucci (w/ consent)            /s/ John Fleming (w/ consent)
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 Garlo                                        Memorial Hospital a/k/a Henry Ford
                                              Allegiance Health and Ronald
 Dated: November 24, 2021                     Nichols, M.D.

                                              Dated: November 24, 2021




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